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                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF ARKANSAS
                                          NORTHERN DIVISION

OLD ST. PAUL MISSIONARY BAPTIST CHURCH                                                               PLAINTIFF

v.                                           Case No. 3:07-cv-00043-LPR

FIRST NATION INSURANCE GROUP;
GWEN MOYO;
CRAIG GREENE;
DANIEL ESPARZA;
CONG LI                                                                                             DEFENDANTS

               ORDER TO SHOW CAUSE REGARDING THE REVIVAL OF JUDGMENTS

          This case is about fraudulent and dishonored bonds sold in connection with the construction of a worship
center. Plaintiff obtained two judgments against Defendants FIRST NATION INSURANCE GROUP (“FNIG”),
GWEN MOYO, DANIEL ESPARZA, CRAIG GREENE, AND CONG LI – one for damages on May 6, 2010
(Doc. 177) and one for attorneys’ fees on June 25, 2010 (Doc. 182). The judgment on damages was for many
millions of dollars; the judgment on attorneys’ fees was $500,000 plus interest. Plaintiff has filed motions to renew
and revive the two judgments (Docs. 185 & 193) and the Court has issued writs of scire facias (Docs. 196 & 197)
for both judgments. Both judgments appear to remain unsatisfied. It appears that Plaintiff has diligently attempted
to locate and serve Defendants with copies of each motion (Docs. 185 & 193) and writ (Docs. 196 & 197). Indeed,
as evidenced by the returns of service filed of record, it appears that Plaintiff may have succeeded in doing so. As a
matter of caution, considering the Court’s prior findings concerning the status of FNIG and Plaintiff’s efforts to
locate and serve Defendants, the Court finds that issuance of this Order and its posting as constructive notice of the
motions and writs of scire facias is both warranted and proper pursuant to Ark. Code Ann. § 16-65-501(c).

          The Court has set a final hearing on Plaintiff’s motions on September 14, 2020, 9:00 a.m., at the United
States District Courthouse, 500 West Capitol Ave, Little Rock, AR 72201. Defendants and any other interested
persons are hereby ORDERED to appear and show cause why said judgments should not be renewed and revived.
Any written response or objection must be filed on or before September 8, 2020. Failure to appear or respond may
result in the waiver of objections and defenses if there are any.

        The Clerk of this Court is hereby authorized and directed to post a copy of this order at the door the Federal
Courthouse in Jonesboro for four (4) consecutive weeks. The Clerk is further directed to post a copy of this order in
a prominent place on the Court’s web site.

         Plaintiff’s counsel is ordered to deliver a copy of this order to the Circuit Clerk of Craighead County,
Jonesboro Division, Arkansas, and the Circuit Clerk is requested (and authorized so far as this Court has any say in
the matter) to post a copy of this order at the door of the Craighead County Courthouse for four (4) consecutive
weeks.

         IT IS SO ORDERED this 28th day of July 2020.




                                                      _________________________________________
                                                      LEE P. RUDOFSKY
                                                      UNITED STATES DISTRICT JUDGE
